

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-73,452-01






EX PARTE RAFAEL RAMIREZ, JR., Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 07-CR-1020-A IN THE 107TH DISTRICT COURT


FROM CAMERON COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of sexual assault and
sentenced to twenty years' imprisonment. The Thirteenth Court of Appeals dismissed his appeal.
Ramirez v. State, No. 13-09-00224-CR (Tex. App.-Corpus Christi 2009, no pet.).

	On March 3, 2010, we remanded this application for findings of fact and conclusions of law
as to whether Applicant was denied his right to an appeal. After making findings of fact, the trial
court concluded that Applicant was not denied his right to an appeal. We agree. Applicant also
contends that counsel at the adjudication of guilt hearing was ineffective for not presenting evidence
that the complainant had been granted permission to marry Applicant and for not objecting when
Applicant was sentenced without a punishment hearing. We believe that the record is not adequate
to resolve this claim. Accordingly, the trial court shall order counsel, Nathaniel Perez, to file a
second affidavit in response to this claim. The trial court may use any means set out in Tex. Code
Crim. Proc. art. 11.07, § 3(d).  

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent him at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make further findings of fact as to whether the complainant was granted
permission to marry Applicant. The trial court shall then determine whether counsel's performance
was deficient and whether Applicant was prejudiced. The trial court shall also make any other
findings of fact and conclusions of law that it deems relevant and appropriate to the disposition of
Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: June 9, 2010

Do not publish


